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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

ELLIS RAY HICKS                                                      CIVIL ACTION

VERSUS
                                                                     NO. 19-108-SDD-RLB
LOUISIANA DEPARTMENT OF
PUBLIC SAFETY AND CORRECTIONS, ET AL.

                                              ORDER

       The scheduling conference presently set for April 18, 2019 is CANCELLED.

       The deadlines established below are based on the parties’ submissions and are final

deadlines. In accordance with Federal Rule of Civil Procedure 16(b), the following deadlines

are established:

       1.       The deadline to join other parties or to amend the pleadings is June 7, 2019.

       2.       Discovery must be completed as follows:

                a.     Exchanging initial disclosures required by F.R.C.P. 26(a)(1): April 11,
                       2019.

                b.     Filing all discovery motions and completing all discovery except experts:
                       December 20, 2019.

                NOTE: Any motions filed regarding discovery must be accompanied by a
                certificate of counsel for the moving party, stating that counsel have conferred in
                person or by telephone for purposes of amicably resolving the issues and stating
                why they are unable to agree or stating that opposing counsel has refused to so
                confer after reasonable notice.

                c.     Disclosure of identities and resumés of experts:

                       Plaintiff(s):          December 31, 2019.

                       Defendant(s):          January 31, 2020.

                d.     Expert reports must be submitted to opposing parties as follows:

                       Plaintiff(s):          January 31, 2020.
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                         Defendant(s):        February 28, 2020.

                e.       Discovery from experts must be completed by March 31, 2020.

       3.       Deadline to file dispositive motions and Daubert motions: April 30, 2020.

       The time limits set forth in this order shall not be modified except by leave of court upon

a showing of good cause. Joint, agreed or unopposed motions to extend scheduling order

deadlines will not be granted automatically. All motions to extend scheduling order deadlines

must be supported by facts sufficient to find good cause as required by Rule 16, Fed.R.Civ.P.

Extensions of deadlines governing discovery must be supported with information describing the

discovery already completed, what necessary discovery remains, the parties’ efforts to complete

the remaining discovery by the deadline, and any additional information showing that the parties

have diligently pursued their discovery. Further, a motion to extend any deadline set by this

Order must be filed before its expiration.

       Parties are directed to consult the Middle District’s Administrative Procedures which

contains additional mandatory filing rules and procedures. The Administrative Procedures are

available for viewing and download on the court’s website (http://www.lamd.uscourts.gov)

under “E-Filing,” “CM/ECF Info,” “Administrative Procedures.”

       The district judge will set the remaining deadlines, including dates for a pretrial

conference and trial in this matter.

       The parties may contact the court at (225) 389-3602 should they wish to schedule a

settlement conference.

       Signed in Baton Rouge, Louisiana, on April 8, 2019.



                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE
